









Dismissed and Opinion filed September 30, 2004









Dismissed and Opinion filed September 30, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00702-CV

____________

&nbsp;

PRISCELLA LAWS, INDIVIDUALLY AND AS
NEXT FRIEND TO MATTHEW LAWS, A MINOR CHILD, Appellant

&nbsp;

V.

&nbsp;

ACADEMY OF
HOUSTON CHARTER SCHOOL AND CHARTER SCHOOL ADMINISTRATION SERVICES, INC.,
Appellee

&nbsp;



&nbsp;

On Appeal from the
61st District Court

Harris County,
Texas

Trial Court Cause No. 03-08192

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed July 9, 2004.&nbsp; The notice of appeal was filed on July 20,
2004.&nbsp; To date, the filing fee of $125.00
has not been paid.&nbsp; No proper affidavit
of indigence was filed with or before the notice of appeal.&nbsp; See Tex.
R. App. P. 20.1.&nbsp; Therefore, on
August 26, 2004, the Court issued an order stating that unless appellant paid
the appellate filing fee of $125.00 within fifteen days of the date of the
order, the appeal would be dismissed.&nbsp; 








The filing fee has not been paid, and appellant has not
responded to the Court=s order of August 26, 2004.

Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Opinion
filed September 30, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

&nbsp;





